                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA

 UNITED STATES OF AMERICA                             )
                                                      )       Case No.1:13-cr-57
 v.                                                   )
                                                      )       COLLIER / LEE
 JAMES MANUEL HICKS                                   )


                                             ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the seven-count

 Indictment; (2) accept Defendant’s plea of guilty to Count One of the Indictment; (3) adjudicate

 Defendant guilty of the charges set forth in Count One of the Indictment; (4) defer a decision on

 whether to accept the plea agreement until sentencing; and (5) find Defendant shall remain in

 custody until sentencing in this matter (Court File No. 147). Neither party filed a timely objection

 to the report and recommendation. After reviewing the record, the Court agrees with the magistrate

 judge’s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the

 magistrate judge’s report and recommendation (Court File No. 147) pursuant to 28 U.S.C. §

 636(b)(1) and ORDERS as follows:

        (1)     Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment

                is GRANTED;

        (2)     Defendant’s plea of guilty to Count One of the Indictment is ACCEPTED;

        (3)     Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

                Indictment;

        (4)     A decision on whether to accept the plea agreement is DEFERRED until sentencing;

                and



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       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on Thursday, February 20, 2014 at 9:00 a.m. [EASTERN]

             before the Honorable Curtis L. Collier.

       SO ORDERED.

       ENTER:


                                           /s/
                                           CURTIS L. COLLIER
                                           UNITED STATES DISTRICT JUDGE




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